           Case 3:08-cr-05532-BHS        Document 25     Filed 08/11/08   Page 1 of 1



 1                                                         JUDGE BENJAMIN H. SETTLE

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT TACOMA

 8
     UNITED STATES OF AMERICA,                 )   NO.     CR08-5532
 9                                             )           CR08-5246
                   Plaintiff,                  )           CR08-5247
10                                             )
                   vs.                         )   Violation No.: 125511, 1319701
11                                             )
     MATTHEW WHITE,                            )   ORDER SEALING AFFIDAVIT OF
12                                             )   COUNSEL IN SUPPORT OF MOTION
                   Defendant.                  )   TO WITHDRAW
13                                             )

14         The Court having considered the Motion for Order Sealing Affidavit of Counsel

15 in support of Motion to Withdraw and for Substitution of Counsel,

16         NOW THEREFORE IT IS HEREBY ORDERED that the Affidavit of Counsel

17 and any appendixes thereto be sealed.
           DONE this 11th day of August, 2008.



                                                   A
18

19

20

21                                                 BENJAMIN H. SETTLE
                                                   United States District Judge
22

23 Presented by:

24

25
     /s/ Russell V. Leonard
26 Russell V. Leonard
     Attorney for Defendant
                                                                       FEDERAL PUBLIC DEFENDER
                                                                                 1331 Broadway , Suite 400
                                                                               Tacoma, Washington 98402
     ORDER SEALING AFFIDAVIT OF COUNSEL – page 1                                           (253) 593-6710
